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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO


GEORGE VIGIL,

       Plaintiff,

vs.                                                           Case No.

JOSEPH AQUINO and
RIO ARRIBA SHERIFF’S OFFICE,

       Defendants.


  COMPLAINT FOR VIOLATION OF CONSTITUTIONAL RIGHTS, NEGLIGENCE
                     AND PUNITIVE DAMAGES
             IN VIOLATION OF FEDERAL AND STATE LAW

       COMES NOW the Plaintiff, GEORGE VIGIL, by and through his attorneys of record,

SANDOVAL FIRM (Richard A. Sandoval) and hereby brings this Complaint under 42 U.S.C. §

1983, the Eighth and Fourteenth Amendments of the New Mexico and United States Constitutions,

the New Mexico Tort Claims Act. As grounds, Plaintiff states:

       1.      This Court has jurisdiction over the subject matter of Plaintiff’s Complaint under

28 U.S.C. § 1331, 42 U.S.C. §§ 1983 and 1988, the United States Constitution Fourth Amendment,

the New Mexico Tort Claims Act, N.M.Stat. Ann. § 41-4-1, et seq., and Article II, § 10, of the

New Mexico Constitution, the law of negligence under New Mexico law.

       2.      The actions complained of in this Complaint occurred within the State of New

Mexico and therefore venue is proper in this judicial district.

       3.      The state law actions complained of occurred within two years of the date of filing

of this lawsuit, on or about March 2, 2019.
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                                            PARTIES

        4.      The Plaintiff is a resident of San Juan, Rio Arriba County, New Mexico.

        5.      Upon information and belief, defendant Joseph Aquino is a resident of Espanola,

New Mexico.

        6.      Joseph Aquino was at all relevant times a deputy with the Rio Arriba County

Sheriff’s office.

        7.      Defendants Rio Arriba Sheriff’s Office are entities of the State of New Mexico.

        8.      All Defendants are “persons” within the meaning of 42 U.S.C. § 1983.

                            FACTS COMMON TO ALL COUNTS

        9.      Plaintiff reincorporates and re-alleges each and every allegation contained in this

Complaint, whether set forth above or below, as if fully set forth herein.

        10.     On or about, March 2, 2019, Plaintiff was an employee of the Family Dollar located

in Chimayo, New Mexico and was in his lawful place of business.

        11.     Plaintiff was observing Deputy Aquino from inside his workplace.

        12.     Deputy Aquino had no reasonable suspicion to believe that Plaintiff had committed

any criminal offense.

        13.     Deputy Aquino entered Plaintiff’s workplace and approached him in an aggressive

manner and struck Plaintiff on his back.

        14.     This battery against Plaintiff was not intended to search for weapons.

        15.     Deputy Aquino assaulted, battered and falsely imprisoned Plaintiff until he was

released from custody a few hours later.

        16.     Deputy Aquino was recently indicted by the Santa Fe District Attorney’s office

regarding this matter.



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        17.     Deputy Aquino admitted in writing that his conduct was in violation of law for the

purpose of participating in a pre-trial diversion program.

                                          COUNT I
                                      EXCESSIVE FORCE
                                      (JOSEPH AQUINO)

        18.     Plaintiff reincorporates and re-alleges each and every allegation contained in this

Complaint, whether set forth above or below, as if fully set forth herein.

        19.     In violation of 42 U.S.C. §1983, Defendant deprived Plaintiff of his civil rights by

using excessive force.

        20.     Plaintiff’s injuries were proximately caused by the excessive force of Defendant

Aquino.

        21.     That the Defendants are liable to Plaintiff for such damages and injuries as well as

the Constitutional deprivation suffered by Plaintiff.

        22.     As a result of the Constitutional deprivations suffered by Plaintiff at the hands of

the Defendants, Plaintiff is entitled to damages in an amount not presently determinable, but to be

proven at the time of trial.

        23.     Pursuant to 42 U.S.C. §1988, Plaintiff is entitled to an award of attorney’s fees for

defendant’s violation of 42 U.S.C. §1983.

                                    COUNT II
                      STATE LAW TORT CLAIMS (JOSEPH AQUINO)

        24.     Plaintiff reincorporates and re-alleges each and every allegation contained in this

Complaint, whether set forth above or below, as if fully set forth herein.

        25.     Defendant Aquino intentionally and negligently caused the battery, assault, false

arrest, false imprisonment and deprivation of Federal and State constitutional rights of Plainitff.

        26.     Defendant Aquino was acting within the scope of his duties as law enforcement

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defendants when he committed these torts against Plaintiff.

       27.      Defendant Aquino had no reasonable suspicion to believe that Plaintiff had

committed any criminal offense.

       28.      The tortious actions of Defendant Aquino proximately caused Plaintiff’s damages

and injuries.

                             COUNT III
NEGLIGENT HIRING, TRAINING, SUPERVISION, AND RETENTION (RIO ARRIBA
                    COUNTY SHERIFF’S OFFICE)

       29.      Plaintiff reincorporates and re-alleges each and every allegation contained in this

Complaint, whether set forth above or below, as if fully set forth herein.

       30.      The Defendant Rio Arriba County Sheriff’s Office has a duty to properly supervise,

educate and train its police officers and law enforcement employees relating to handling a crisis

management situation and the proper use of force in a crisis management situation.

       31.      The Defendant Rio Arriba County Sheriff’s Office has failed to properly supervise,

educate and train it’s police officers and law enforcement employees relating to handling a crisis

management situation and the proper use of force in a crisis management situation.

       32.      The County’s failure to properly train and supervise its police officers and law

enforcement employees in such a manner as alleged above directly caused the injuries to Plaintiff.

       33.      The Defendant Rio Arriba County Sheriff’s Office is liable for damages caused by

the negligence of its employees while working within the scope of their employment, an amount

not presently determinable, but to be proven at the time of trial.

       34.      The Defendant Rio Arriba County Sheriff’s Office is liable for the injuries of

Plaintiff caused by the negligence of Defendant Aquino.




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                             COUNT IV
ILLEGAL SEIZURE AND ARREST IN VIOLATION OF THE FOURTH AMENDMENT
                         (JOSEPH AQUINO)

       35.     Plaintiff reincorporates and re-alleges each and every allegation contained in this

Complaint, whether set forth above or below, as if fully set forth herein.

       36.     At all times material hereto, Plaintiff had the constitutional right to be free from

unlawful seizure, arrest, and detention.

       37.     Defendant Aquino caused Plaintiff to be seized, arrested and detained without

probable cause to believe he had committed a crime and without any other reasonable and legal

ground for an arrest.

       38.     Plaintiff’s seizure, arrest and incarceration was without a justifiable basis and was

objectively unreasonable, intentional, willful, wanton, and in gross and reckless disregard of his

rights under the Fourth and Fourteenth Amendments to the United States Constitution.

       39.     The unlawful seizure, arrest and incarceration of Plaintiff proximately caused his

damages.

       40.     Defendant Aquino failed to exercise his duty to ensure Plaintiff’s right to be free

from illegal seizure, arrest, and detention was not violated and his actions were not objectively

reasonable.

       41.     Defendant Aquino’s actions were intentional, willful, wanton and in gross and

reckless disregard of Plaintiff’s rights under the federal constitution.


                                    COUNT V
       UNOFFICIAL POLICY CUSTOM AND/OR PRACTICE IN VIOLATION OF 42
             U.S.C. § 1983 (RIO ARRIBA COUNTY SHERIFF’S OFFICE)

       42.     Plaintiff reincorporates and re-alleges each and every allegation contained in this

Complaint, whether set forth above or below, as if fully set forth herein.


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       43.     Defendant Rio Arriba County Sheriff’s Office’s official and unofficial policies and

customs encouraged, caused, allowed, and or enabled Defendant Aquino to violate Plaintiff’s

constitutional and state rights without fear of discipline for those violations.

       44.     Failure to properly investigate and discipline officers who are accused of unlawful

conduct caused Plaintiff’s constitutional rights to be violated.

       45.     There is an obvious need for Rio Arriba County Sheriff’s office to train all its

employees on First and Fourth Amendment rights. Defendant Rio Arriba County Sheriff’s Office

has demonstrated a policy of deliberate indifference to such civil rights violations.

       46.      Defendant Rio Arriba County Sheriff’s Office’s callous, reckless, wanton, and

malicious actions under color of state law before, during and after this loss, has caused Plaintiff to

suffer and continue to suffer the damages Plaintiff has described.


                                         COUNT VI
                                     PUNITIVE DAMAGES
                                     (ALL DEFENDANTS)

       47.     Plaintiff reincorporates and re-alleges each and every allegation contained in this

Complaint, whether set forth above or below, as if fully set forth herein.

       48.     The acts and omissions complained of in the Causes of Action stated above are,

upon information and belief, believed to be of such an egregious nature, in reckless, wanton and

total disregard to the rights of Plaintiff, that in addition to actual damages ascertained and

demonstrated by a preponderance of the evidence, that punitive damages or exemplary damages

to punish and deter this type of act from occurring in the future may well be appropriate.

                                         JURY DEMAND

       49.     Plaintiff demands a jury trial of all issues so triable and requests that an advisory

jury be empaneled, should the court deem it appropriate.


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                                      PRAYER FOR RELIEF

          WHEREFORE, Plaintiff respectfully requests that he be granted the following relief

pursuant to his complaint:

          A.    Award Plaintiff compensatory damages, in an amount to be proven at trial;

          B.    Award Plaintiff special damages, in an amount to be proven at trial;

          C.    Award Plaintiff punitive damages in an amount to be proven at trial;

          D.    Award Plaintiff pre- and post-judgment interest, as allowed by law;

          E.    Award Plaintiff his costs and reasonable attorneys’ fees incurred in prosecuting this

action;

          F.    Set this matter for trial by jury; and

          G.    Grant such other and further relief as the court deems just and proper.

                                                         Respectfully submitted,


                                                         SANDOVAL FIRM

                                                         /s/ Richard A. Sandoval
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                                                         (505) 795-7790
                                                         rick@sandovalfirm.com




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